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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    IRONWORKS PATENTS, LLC,                            Case No.: 17-CV-1220 JLS (BLM)
12                                      Plaintiff,
                                                         ORDER GRANTING JOINT
13    v.                                                 MOTION TO DISMISS
14    LG ELECTRONICS, INC., et al.,
                                                         (ECF No. 31)
15                                   Defendants.
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17         Presently before the Court is the parties’ Joint Motion to Dismiss. (ECF No. 31.)
18   The parties have reached a settlement and request the Court dismiss the case. (See id. at
19   3.) The parties also request that the dismissal become effective with prejudice on July 15,
20   2018. (Id.) Good cause appearing, the Court GRANTS the parties’ Joint Motion and
21   DISMISSES WITHOUT PREJUDICE this action in its entirety. As stipulated by the
22   parties, each party shall bear its own attorney’s fees and costs. The Clerk of Court shall
23   close the file. The dismissal will be with prejudice as of July 15, 2018. If no party objects
24   before July 15, 2018 the file shall remain closed.
25         IT IS SO ORDERED.
26   Dated: January 5, 2018
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                                                                               17-CV-1220 JLS (BLM)
